  Case 23-40709   Doc 70-38 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc
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                    UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

                                            Case No. 23-40709-CJP

                                            Chapter 7


In re:
                                          CERTIFICATE OF SERVICE
WESTBOROUGH SPE LLC




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       I, Roger L. Smerage, hereby certify that on the below date, I caused a copy of the foregoing

Exhibits to the Town of Westborough’s Motion to Dismiss Bankruptcy Case to be served through

the Court’s CM/ECF system to the following counsel of record or by U.S. mail to the following

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Dated: January 16, 2024
                                                     Roger L. Smerage



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